            Case 3:25-cv-01780-WHA       Document 159   Filed 03/28/25   Page 1 of 4




 1   PATRICK D. ROBBINS (CABN 152288)
     Acting United States Attorney
 2   PAMELA T. JOHANN (CABN 145558)
     Chief, Civil Division
 3   KELSEY J. HELLAND (CABN 298888)
     Assistant United States Attorney
 4   U.S. ATTORNEY’S OFFICE
     450 Golden Gate Avenue, Box 36055
 5   San Francisco, California 94102-3495
 6   ERIC HAMILTON
     Deputy Assistant Attorney General
 7   DIANE KELLEHER
     Branch Director
 8   CHRISTOPHER HALL
     Assistant Branch Director
 9   JAMES D. TODD, JR.
     Senior Trial Counsel
10   YURI S. FUCHS
     Trial Attorney
11   U.S. DEPARTMENT OF JUSTICE
12   Civil Division, Federal Programs Branch
     P.O. Box 883
13   Washington, DC 20044

14   Counsel for Defendants

15
                                  UNITED STATES DISTRICT COURT
16                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
17
                                                 Case No. 3:25-cv-1780-WHA
18   AMERICAN FEDERATION OF
     GOVERNMENT EMPLOYEES, et al.
19
                                                 DECLARATION OF YURI S. FUCHS IN
20            Plaintiffs,                        SUPPORT OF DEFENDANTS’ EX PARTE
                                                 MOTION FOR A PROTECTIVE ORDER
21                     v.
                                                 PRECLUDING THE DEPOSITION OF
     UNITED STATES OFFICE OF PERSONNEL           CHARLES EZELL
22
     MANAGEMENT, et al.,
23                                               The Hon. William H. Alsup
               Defendants.
24
25
26
27
28


     Declaration of Yuri S. Fuchs
     3:25-cv-1780-WHA
             Case 3:25-cv-01780-WHA           Document 159         Filed 03/28/25          Page 2 of 4




 1           I, Yuri S. Fuchs, declare, pursuant to 28 U.S.C. § 1746 and Local Rule 7-5, as follows:
 2           1.       I am a member in good standing of the State Bar of California and am admitted as
 3   a federal attorney in this Court. I represent all of the Defendants in this action.
 4           2.       In this case, Plaintiffs filed this action on February 21, 2025, see Compl., ECF
 5   No. 1, and effected service on Defendants on February 24, 2025. Plaintiffs then filed a motion
 6   for temporary restraining order (“TRO”) and to show cause of on February 23, 2025. Ex Parte
 7   Mot. for TRO and Order to Show Cause, ECF No. 18.
 8           3.       On February 26, 2025, Defendants filed their opposition to Plaintiffs’ TRO
 9   motion, attaching in support a declaration from the Acting Administrator of Office of Personnel
10   Management (“OPM”), Charles Ezell in support of their opposition. See Defs’ Opp. To Ex Parte
11   Mot. for TRO and Order to Show Cause, ECF No. 33; Decl. of Charles Ezell in Supp. Of Defs’
12   Opp. To Ex Parte Mot. for TRO and Order to Show Cause, ECF No. 34.
13           4.       On February 27, 2025, the Court issued its TRO and ordered the Acting
14   Administrator Ezell to provide testimony at an evidentiary hearing scheduled for March 13,
15   2025.
16           5.       On March 10, 2025, Defendants filed an ex parte motion to vacate the March 13,
17   2025 evidentiary hearing, seeking inter alia to preclude the testimony of Mr. Ezell at the hearing
18   on the basis that an agency head cannot be compelled to provide testimony in a judicial
19   proceeding. See Defs’ Ex Parte Mot. to Vacate Mar. 13, 2025 Evidentiary Hrg., ECF No. 75. In
20   support of that ex parte motion, Defendants attached a declaration from the Senior Advisor to the
21   Director of OPM, Noah Peters, which explained OPM’s discussions with agencies regarding its
22   guidance memorandum issued on January 20, 2025. Decl. of Noah Peters in Supp. Of Defs’ Ex
23   Parte Mot. to Vacate Mar. 13, 2025 Evidentiary Hrg., ECF No. 77. Mr. Peters’ declaration
24   further explained that Mr. Ezell had no involvement on a February 13, 2025 call with agency
25   Chiefs of Staff regarding the guidance and limited involvement on a February 14, 2025 call with
26   Chief Human Capital Officers (“CHCOs”) regarding the same guidance memorandum. Id.
27           6.       On March 10, 2025, the Court denied Defendants’ ex parte motion to vacate the
28   hearing and preclude Mr. Ezell’s testimony on the basis that “Acting Director Ezell submitted a



     Declaration of Yuri S. Fuchs
     3:25-cv-1780-WHA
                                                        1
            Case 3:25-cv-01780-WHA            Document 159        Filed 03/28/25      Page 3 of 4




 1   sworn declaration in support of defendants’ position.” Order on Ex Parte Mot. to Vacate Mar.
 2   13, 2025 Evidentiary Hrg., ECF No. 89 at 2. The Court’s Order then directed the parties to
 3   “advise the Court whether they intend to produce any live witnesses” at the March 13, 2025
 4   hearing. Id.
 5           7.       On March 11, 2025, Defendants informed the Court that they did not intend to
 6   produce any live witnesses as part of their March 13, 2025 hearing presentation and that they
 7   were withdrawing Mr. Ezell’s prior declaration and would not be presenting him at the hearing
 8   because his declaration was now withdrawn. Defs’ Notice, ECF No. 97.
 9           8.       At the March 13, 2025 hearing, the Court issued a preliminary injunction and
10   gave “plaintiffs authority promptly to depose, in Washington, Noah Peters, who submitted [the]
11   other declaration” on behalf of OPM. Tr. of Mar. 13, 2025 Hrg. 54:10-12. The Court separately
12   ordered that “discovery [was] now open,” caveating that while both sides could “take depositions
13   and ask for documents,” they should “be reasonable.” Id. 54:13-14.
14           9.       On March 20, 2025, Plaintiffs noticed the deposition of Mr. Ezell for a deposition
15   to be taken on April 3, 2025, at 9:00 am EST along with the deposition of six other individuals
16   from various other agencies who serve as CHCOs and Deputy CHCOs. See Ex. A-G.
17           10.      The deposition of Noah Peters occurred on March 26, 2025. See Ex. H.
18           11.      On March 26, 2025, Defendants wrote to Plaintiffs regarding the scheduling of
19   the depositions apart from the scheduled Noah Peters deposition. Defendants indicated the
20   availability of deponents from non-OPM agencies.
21           12.      On March 26, 2025, Defendants requested that that Plaintiffs withdraw the notice
22   of Mr. Ezell’s deposition. In support of their request, Defendants cited to the fact that Mr. Peters
23   was already testifying and reiterated the same concerns of high-level official testimony expressed
24   in Defendants’ prior ex parte motion to vacate the March 13, 2025 evidentiary hearing. Plaintiffs
25   declined to withdraw the notice.
26           13.       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
27   foregoing is true and correct.
28


     Declaration of Yuri S. Fuchs
     3:25-cv-1780-WHA
                                                        2
            Case 3:25-cv-01780-WHA    Document 159     Filed 03/28/25   Page 4 of 4




 1   Dated: March 28, 2025
 2
 3
 4
 5                                   ___/s/Yuri S. Fuchs____________________
                                       YURI S. FUCHS
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Declaration of Yuri S. Fuchs
     3:25-cv-1780-WHA
                                              3
